                                1       Dakota Pearce (WSBA #57011)                                    HONORABLE WHITMAN L. HOLT
                                        BUCHALTER
                                2       1420 5th Avenue, Suite 3100
                                        Seattle, Washington 98101
                                3       Telephone: (206) 319-7052
                                        Email: dpearce@buchalter.com
                                4
                                        Bernard D. Bollinger, Jr. (CA SBN:
                                5       132817)*
                                        Julian I. Gurule (CA SBN: 251260)*
                                6       Khaled Tarazi (AZ SBN: 032446)*
                                        BUCHALTER
                                7       1000 Wilshire Blvd., Suite 1500
                                        Los Angeles, California 90017
                                8       Email: bbollinger@buchalter.com
                                                jgurule@buchalter.com
                                9               ktarazi@buchalter.com
                          10            *Admitted Pro Hac Vice
                          11            Counsel to Debtors and Debtors in
                                        Possession
                          12
                                                              UNITED STATES BANKRUPTCY COURT
                          13                                  EASTERN DISTRICT OF WASHINGTON
                          14
                                    In re:                                                           Chapter 11
                          15
                                    ICAP ENTERPRISES, INC., et al.,                                  Lead Case No. 23-01243-WLH11
                          16                                                                         Jointly Administered
                                                                               Debtors. 1
                          17                                                                         MONTHLY FEE APPLICATION
                                                                                                     OF BUCHALTER FOR
                          18                                                                         ALLOWANCE AND PAYMENT
                                                                                                     OF INTERIM COMPENSATION
                          19                                                                         AND REIMBURSEMENT OF
                                                                                                     EXPENSES FOR THE PERIOD OF
                          20                                                                         SEPTEMBER 29, 2023 THROUGH
                                                                                                     OCTOBER 31, 2023
                          21
                          22
                                    1
                                      The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-
                          23        01261-11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault
                                    Holding 1, LLC (23-01265-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC
                          24        (23-01248-11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC
                                    (23-01249-11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC
                          25        (23-01254-11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11);
                                    VH 1121 14th LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW,
                          26        LLC (23-01244-11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-
                                    01246-11); iCap Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11); Vault Holding, LLC (23-01270-11); iCap Pacific
                          27        Development LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); iCap Holding 6 LLC (23-
                                    01274-11); Colpitts Sunset, LLC (23-01432-11); CS2 Real Estate Development LLC (23-01434-11); and iCap International
                          28        Investments, LLC (23-01464-11).
      BUCHALTER                         FIRST MONTHLY FEE APPLICATION – 1                                                              BUCHALTER
A PROFES SION AL CORPORAT ION                                                                                                     1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                                                SEATTLE, WA 98101-1337
                                                                                                                                    TELEPHONE: 206.319.7052
                                    BN 79732416v3
                       23-01243-WLH11                  Doc 206         Filed 12/05/23         Entered 12/05/23 19:11:51                  Pg 1 of 99
                                1                                                    [No Hearing Required Pursuant to
                                                                                     L.B.R. 2002-1(c)(1)]
                                2
                                3
                                4           Buchalter, A Professional Corporation (the “Firm”) submits this Monthly Fee
                                5 Application for Allowance and Payment of Interim Compensation and
                                6 Reimbursement of Expenses for the Period of September 29, 2023 – October 31, 2023
                                7 (the “Application” and the “Application Period,” respectively) for work performed
                                8 for the above-captioned debtors and debtors in possession (the “Debtors”). In support
                                9 of the Application, the Firm respectfully represents as follows:
                          10                The Firm is counsel to the Debtors. The Firm hereby applies to the court for
                          11 allowance and payment of interim compensation for services rendered and
                          12 reimbursement of expenses incurred during the Application Period.
                          13                1.      The Firm billed a total of $431,430.60 in fees and expenses during the
                          14 Application Period. The total fees represent 698.8 hours expended during the period
                          15 covered by this Application. These fees and expenses break down as follows:
                          16
                          17         Period                    Fees                 Expenses            Total

                          18         09/29/2023 to             $402,769.50          $28,661.10          $431,430.60

                          19         10/31/2023

                          20                2.      Accordingly, the Firm seeks allowance of interim compensation in the
                          21 amount of a total of $431,430.60 at this time. This total is comprised of $402,769.50
                          22 (the fees for services rendered) plus $28,661.10 (the expenses incurred). The Firm
                          23 will only apply 80% of the fees paid to outstanding invoices and will hold the
                          24 additional 20% of the fees in trust pending approval of such fees through a quarterly
                          25 interim fee application.
                          26                3.      This is the first monthly fee application of the Firm. Accordingly, to
                          27 date, the firm has not been paid post-petition and is not holding any amounts in trust.
                          28
      BUCHALTER                      FIRST MONTHLY FEE APPLICATION - 2                                       BUCHALTER
A PROFES SION AL CORPORAT ION                                                                           1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                      SEATTLE, WA 98101-1337
                                                                                                          TELEPHONE: 206.319.7052
                                    BN 79732416v3
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                                1           4.      Attached as Exhibit A to this Application is the name of each
                                2 professional who performed services in connection with this case during the period
                                3 covered by this Application and the hourly rate for each such professional. Attached
                                4 as Exhibit B to this Application are the detailed time and expense statements for the
                                5 Application Period.
                                6           5.      The Firm has served a copy of this Application on the applicable Notice
                                7 Parties. The Application was mailed by first class mail, postage prepaid, on or about
                                8 December 5, 2023. Notice of the filing of this Application was served on the
                                9 foregoing parties as well as any party who has requested special notice in these
                          10 chapter 11 cases as of the date of the Notice. The Notice was mailed by first class
                          11 mail, postage prepaid, on or about December 5, 2023.
                          12                6.      Pursuant to this court’s Order Granting Debtors’ Motion for Order
                          13 Establishing Interim Fee Application and Expense Reimbursement Procedures that
                          14 was entered on or about November 17, 2023 (“Compensation Procedures Order”),
                          15 the Debtors are authorized, but not directed, to make the payment requested herein
                          16 without a further hearing or order of this court unless an objection to this Application
                          17 is filed with the court and served upon the Notice Parties within 14 calendar days
                          18 after the date of mailing of the Notice of this Application. If such an objection is
                          19 filed, the Debtors are authorized, but not directed, to pay 100% of the uncontested
                          20 fees and expenses without further order of the court. If no objection is filed, the
                          21 Debtors are authorized, but not directed, to pay 100% of all fees and expenses
                          22 requested in the Application without further order of the court; provided, however,
                          23 that in either case, the Firm will hold 20% of the amount of the fees paid in trust
                          24 pending approval of such fees through a quarterly interim fee application.
                          25                7.      The interim compensation and reimbursement of expenses sought in this
                          26 Application are not final. Upon the conclusion of these cases, the Firm will seek fees
                          27 and reimbursement of the expenses incurred for the totality of the services rendered
                          28 in these cases. Any interim fees or reimbursement of expenses approved by this court
      BUCHALTER                      FIRST MONTHLY FEE APPLICATION - 3                                     BUCHALTER
A PROFES SION AL CORPORAT ION                                                                         1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                    SEATTLE, WA 98101-1337
                                                                                                        TELEPHONE: 206.319.7052
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                                1 and received by the Firm (along with any retainer) will be credited against such final
                                2 fees and expenses as may be allowed by this court.
                                3           The Firm respectfully requests that the Debtors pay compensation to the Firm
                                4 as requested herein pursuant to and in accordance with the terms of the Compensation
                                5 Procedures Order.
                                6 DATED this 5th day of December, 2023
                                7
                                                                      By          /s/ Dakota Pearce
                                8                                          Dakota Pearce (WSBA 57011)
                                9                                          BERNARD D. BOLLINGER, JR. (Admitted
                                                                           Pro Hac Vice)
                          10                                               JULIAN I. GURULE (Admitted Pro Hac Vice)
                                                                           KHALED TARAZI (Admitted Pro Hac Vice)
                          11                                               BUCHALTER, a Professional Corporation
                          12                                               Counsel to Debtors and Debtors in Possession
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      BUCHALTER                      FIRST MONTHLY FEE APPLICATION - 4                                     BUCHALTER
A PROFES SION AL CORPORAT ION                                                                         1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                    SEATTLE, WA 98101-1337
                                                                                                        TELEPHONE: 206.319.7052
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 Timekeeper              Rate                    Total Hours       Total Fees

 Julian Gurule           $895.00                 76.6              $68,557.00
 Daniel Katz             $850.00                 41.7              $35,445.00
 Bernard D.              $815.00                 52.2              $42,543.00
 Bollinger, Jr.

 Paul Arrow              $750.00                 39.6              $29,700.00
 John Crosetto           $675.00                 0.3               $202.50
 David Mark              $650.00                 31.8              $20,670.00
 Jeffrey S. Wruble       $625.00                 0.5               $312.50
 Mancy Pendergrass       $595.00                 25.1              $14,934.50
 Khaled Tarazi           $545.00                 168.3             $91,723.50
 Dakota Pearce           $450.00                 127.7             $57,465.00
 Nicholas Couchot        $440.00                 13.8              $6,072.00
 Kara Gibson             $320.00                 50.3              $16,096.00
 Schrader
 Devra Featheringill     $295.00                 1.2               $354.00
 Erick Diaz              $285.00                 46.8              $13,338.00
 Caven Hamilton          $285.00                 6                 $1,710.00
 Elyse Mills             $275.00                 3.1               $852.50
 Nili Yavin              $275.00                 1.9               $522.50
 Meaghan N.              $230.00                 2.8               $644.00
 Bartholemy

 Sergio Ulloa            $225.00                 4.9               $1,102.50
 Pandy McVay             $125.00                 4.2               $525.00
 Total                                           698.8             $402,769.50



BN 79785664v1


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                                1       Dakota Pearce (WSBA #57011)                                    HONORABLE WHITMAN L. HOLT
                                        BUCHALTER
                                2       1420 5th Avenue, Suite 3100
                                        Seattle, Washington 98101
                                3       Telephone: (206) 319-7052
                                        Email: dpearce@buchalter.com
                                4
                                        Bernard D. Bollinger, Jr. (CA SBN:
                                5       132817)*
                                        Julian I. Gurule (CA SBN: 251260)*
                                6       Khaled Tarazi (AZ SBN: 032446)*
                                        BUCHALTER
                                7       1000 Wilshire Blvd., Suite 1500
                                        Los Angeles, California 90017
                                8       Email: bbollinger@buchalter.com
                                                jgurule@buchalter.com
                                9               ktarazi@buchalter.com
                          10            *Admitted Pro Hac Vice
                          11            Counsel to Debtors and Debtors in
                                        Possession
                          12
                                                                UNITED STATES BANKRUPTCY COURT
                          13                                    EASTERN DISTRICT OF WASHINGTON
                          14
                                    In re:                                                           Chapter 11
                          15
                                    iCAP ENTERPRISES, INC., et al.,                                  Lead Case No. 23-01243-WLH11
                          16                                                                         Jointly Administered
                                                                               Debtors. 1
                          17                                                                         NOTICE OF MONTHLY FEE
                                                                                                     APPLICATION OF BUCHALTER
                          18                                                                         FOR ALLOWANCE AND
                                                                                                     PAYMENT OF INTERIM
                          19                                                                         COMPENSATION AND
                                                                                                     REIMBURSEMENT OF
                          20                                                                         EXPENSES FOR THE PERIOD
                                                                                                     SEPTEMBER 29, 2023 THROUGH
                          21                                                                         OCTOBER 31, 2023
                          22
                                    1
                                      The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-
                          23        01261-11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault
                                    Holding 1, LLC (23-01265-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC
                          24        (23-01248-11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC
                                    (23-01249-11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC
                          25        (23-01254-11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11);
                                    VH 1121 14th LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW,
                          26        LLC (23-01244-11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-
                                    01246-11); iCap Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11); Vault Holding, LLC (23-01270-11); iCap Pacific
                          27        Development LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); iCap Holding 6 LLC (23-
                                    01274-11); Colpitts Sunset, LLC (23-01432-11); CS2 Real Estate Development LLC (23-01434-11); and iCap International
                          28        Investments, LLC (23-01464-11).
      BUCHALTER                         NOTICE OF MONTHLY FEE APPLICATION – 1                                                          BUCHALTER
A PROFES SION AL CORPORAT ION                                                                                                     1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                                                SEATTLE, WA 98101-1337
                                                                                                                                    TELEPHONE: 206.319.7052
                                    BN 79732422v4
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                                1
                                                                                            [No Hearing Required Pursuant to
                                2                                                           L.B.R. 2002-1(c)(1)]
                                3
                                4
                                5
                                    TO: THE OFFICE OF THE UNITED STATES TRUSTEE, THE OFFICIAL
                                6
                                    COMMITTEE OF UNSECURED CREDITORS, AND OTHER PARTIES IN
                                7
                                    INTEREST
                                8
                                    PLEASE TAKE NOTICE that the professionals listed on the chart below (the
                                9
                                    “Professionals”) have applied to the United States Bankruptcy Court for the Eastern
                          10
                                    District of Washington for allowance and payment of interim compensation for
                          11
                                    services rendered and reimbursement of expenses incurred during the period
                          12
                                    commencing September 29, 2023 and ending October 31, 2023 (the “Application
                          13
                                    Period”). As detailed below, the Professionals seek allowance and payment of
                          14
                                    interim compensation for fees for services rendered, plus the expenses incurred
                          15
                                    during the Application Period.
                          16
                                       Professional’s          Title         Total           Total         Amount of       Amount of
                          17           Name                                  (100%)          requested     Fees to be      Fees To be
                                                                             Fees            in this       Applied to      Held in Trust
                          18                                                 Incurred        Application   Open            (20% of Fees)
                                                                                             (100% of      Invoices
                          19                                                                 Fees and      (80% of
                                                                                             Expenses)     Fees)
                          20
                                       Julian Gurule           Shareholder    $68,557.00      $68,557.00    $54,845.60          $13,711.40
                          21
                                       Bernard D.              Shareholder    $42,543.00      $42,543.00    $34,034.40           $8,508.60
                          22           Bollinger, Jr.
                          23           Daniel Katz             Shareholder    $35,445.00      $35,445.00    $28,356.00           $7,089.00
                          24           Paul Arrow              Shareholder    $29,700.00      $29,700.00    $23,760.00           $5,940.00
                          25           David Mark              Shareholder    $20,670.00      $20,670.00    $16,536.00           $4,134.00
                          26           Jeffrey S. Wruble       Shareholder        $312.50        $312.50       $250.00                $62.50
                          27
                                       Mancy Pendergrass       Senior         $14,934.50      $14,934.50    $11,947.60           $2,986.90
                          28                                   Counsel
      BUCHALTER                      NOTICE OF MONTHLY FEE APPLICATION - 2                                           BUCHALTER
A PROFES SION AL CORPORAT ION                                                                                    1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                               SEATTLE, WA 98101-1337
                                                                                                                   TELEPHONE: 206.319.7052
                                    BN 79732422v4
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                                1      Professional’s          Title       Total            Total         Amount of       Amount of
                                       Name                                (100%)           requested     Fees to be      Fees To be
                                2                                          Fees             in this       Applied to      Held in Trust
                                                                           Incurred         Application   Open            (20% of Fees)
                                3                                                           (100% of      Invoices
                                                                                            Fees and      (80% of
                                4                                                           Expenses)     Fees)

                                5      John Crosetto           Senior             $202.50       $202.50       $162.00                $40.50
                                                               Counsel
                                6      Khaled Tarazi           Associate    $91,723.50       $91,723.50    $73,378.80          $18,344.70
                                7      Dakota Pearce           Associate    $57,465.00       $57,465.00    $45,972.00          $11,493.00
                                8      Nicholas Couchot        Associate     $6,072.00        $6,072.00     $4,857.60           $1,214.40
                                9      Kara Gibson             Paralegal    $16,096.00       $16,096.00    $12,876.80           $3,219.20
                                       Schrader
                          10
                                       Meaghan N.              Paralegal          $644.00       $644.00       $515.20              $128.80
                          11           Bartholemy
                          12           Elyse Mills             Paralegal          $852.50       $852.50       $682.00              $170.50
                          13
                                       Erick Diaz              Other        $13,338.00        13,338.00    $10,670.04           $2,667.96
                          14
                                       Caven Hamilton          Other         $1,710.00        $1,710.00     $1,368.00              $342.00
                          15
                                       Sergio Ulloa            Other         $1,102.50        $1,102.50       $882.00              $220.50
                          16
                                       Pandy McVay             Other              $525.00       $525.00       $420.00              $105.00
                          17
                                       Nili Yavin              Other              $522.50       $522.50       $418.00              $104.50
                          18
                                       Devra Featheringill     Other              $354.00       $354.00       $283.20                $70.80
                          19
                                       General/Unallocated                                   $28,661.10
                          20           Expenses
                                       TOTAL                               $402,769.50      $431,430.60   $322,215.24          $80,554.26
                          21
                          22
                                            Pursuant to the Order Granting Debtors’ Motion For Order Establishing
                          23
                                    Interim Fee Application and Expense Reimbursement Procedures which was entered
                          24
                                    by the court on or about November 17, 2023 [ECF No. 168], any party objecting to
                          25
                                    the allowance and payment of interim compensation and reimbursement of expenses
                          26
                                    as requested must file a written objection with the court and serve a copy of that
                          27
                                    objection upon the Professionals whose Monthly Fee Application are the subject of
                          28
      BUCHALTER                      NOTICE OF MONTHLY FEE APPLICATION - 3                                          BUCHALTER
A PROFES SION AL CORPORAT ION                                                                                   1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                              SEATTLE, WA 98101-1337
                                                                                                                  TELEPHONE: 206.319.7052
                                    BN 79732422v4
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                                1 the objection, the Debtors and their counsel of record, each of the Committees and
                                2 their counsel of record, and the Office of the United States Trustee within fourteen
                                3 (14) calendar days of the date that this Notice was mailed.
                                4           If an objection is timely filed and served, the Debtors will pay the
                                5 Professionals whose application is the subject of an objection only the applicable
                                6 percentage of those amounts not in dispute and will reserve any amounts in dispute
                                7 for payment after the Court hears and resolves such dispute.
                                8 DATED this 5th day of December, 2023
                                9
                                                                       By          /s/ Dakota Pearce
                          10                                                Dakota Pearce (WSBA 57011)
                          11                                                BERNARD D. BOLLINGER, JR. (Admitted
                                                                            Pro Hac Vice)
                          12                                                JULIAN I. GURULE (Admitted Pro Hac Vice)
                                                                            KHALED TARAZI (Admitted Pro Hac Vice)
                          13                                                BUCHALTER, a Professional Corporation
                          14                                                Counsel to Debtors and Debtors in Possession
                          15
                          16
                          17
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                          20
                          21
                          22
                          23
                          24
                          25
                          26
                          27
                          28
      BUCHALTER                      NOTICE OF MONTHLY FEE APPLICATION - 4                                 BUCHALTER
A PROFES SION AL CORPORAT ION                                                                          1420 FIFTH AVENUE, SUITE 3100
          SE AT TL E                                                                                     SEATTLE, WA 98101-1337
                                                                                                         TELEPHONE: 206.319.7052
                                    BN 79732422v4
                       23-01243-WLH11               Doc 206   Filed 12/05/23   Entered 12/05/23 19:11:51     Pg 99 of 99
